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Attorneys for Defendant Save On SP, LLC

              UNITED STATES DISTRICT COURT DISTRICT OF NEW JERSEY


 JOHNSON & JOHNSON                                  Civil Action No. 22-2632 (JKS)(CLW)
 HEALTH CARE SYSTEMS INC.,
                                                        Document Electronically Filed
                    Plaintiff,
         v.                                             Return Date: October 7, 2024

 SAVE ON SP, LLC,                                    NOTICE OF MOTION TO SEAL

                 Defendant.
         PLEASE TAKE NOTICE on October 7, 2024, or a date and time to be set by the Court,

 Defendant Save On SP, LLC (“SaveOn”), by and through its attorneys Robinson & Cole, LLP

 and Selendy Gay PLLC, together with counsel for Johnson and Johnson Health Care Systems

 Inc. (“JJHCS”) shall move for the entry of an order, pursuant to Local Civil Rules 5.3(c) and

 7.1, permanently sealing portions of JJHCS’s August 12, 2024 Motion to Compel pre-2016



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 Documents and Exhibits 4-8, 11-16, 18-20 [ECF No. 350], SaveOn’s August 22, 2024

 Opposition and Exhibits 2, 4-8 [ECF No. 354], and JJHCS’s August 29, 2024 Reply [ECF No.

 361].

         This Motion is timely pursuant to Local Civil Rule 5.3(c)(2). All parties consent to the

 relief sought in this motion. Pursuant to Local Civil Rule 7.1(d)(4), no legal brief is required

 because all relevant proposed findings of fact and conclusions of law required by Local Civil

 Rule 5.3(c)(3) have been set forth in the Declaration of E. Evans Wohlforth, Jr., Esq. submitted

 herewith.

          PLEASE TAKE FURTHER NOTICE that, in support of the within motion,

  Defendant shall rely upon the Declaration of E. Evans Wohlforth, Jr., Esq., and upon the

  pleadings and all prior proceedings in the above-captioned action.

          PLEASE TAKE FURTHER NOTICE that a copy of the proposed Findings of Fact

  and Conclusions of Law and Order Granting the Motion to Seal is submitted with this Notice.

          PLEASE TAKE FURTHER NOTICE that a certificate attesting to the date and

  manner of service of these moving papers is submitted herewith.

  Dated: September 12, 2024

                                             By: s/ E. Evans Wohlforth, Jr.
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